           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:09CR23

UNITED STATES OF AMERICA,                              )
                                                       )               AMENDED
Vs.                                                    )               ORDER
                                                       )
KENNETH LEE GARDNER.                                   )
__________________________________                     )

        THIS MATTER is before the court upon former defendant’s pro se Motion

to Produce Original Documents Before the Courts (#204). Review of the docket

reveals that this action was dismissed as to Mr. Gardner on or about July 31, 2009,

and that he is no longer a party to this action.

        In the substance of the motion, however, former defendant states that he seeks

the “original documents” filed in this matter to “prove whether are not the court has

alter documents in a fraudulent manner.”           Docket Entry #204, at ¶ 1(errors in

original0. Mr. Gardner is advised that the official record is electronically maintained

and that he is more than welcomed to retrieve any document from that source or seek

a copy of the pleadings from his attorney. He is further advised that the originals of

all paper-filed documents in criminal cases that contain original signatures are

maintained in original paper form by the Clerk of this court. Defendant is welcome

to visit the Clerk of this court and view such documents in the presence of the Clerk

or his designee or make a request for true teste copies of such documents at his own


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expense. Finally, former defendant is advised that the words used in his motion

border on contempt and will be stricken as impertinent.

                                    ORDER

      IT IS, THEREFORE, ORDERED that defendant’s pro se Motion to Produce

Original Documents Before the Courts (#204) is DENIED.



                                        Signed: September 24, 2009




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